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EXHIBIT 2
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Prepared by age
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U.S. Customs and Border Protection
Office of Trade
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Apel] JO BDO
UONONSJOld JSpJOG Pue SWOISND *S'N

Aq paiedaig

SONSITEIS OINZIOS /10Z Jee, [eosl4

SLHOTH ALdHdOdd
IVO.LOYTEHLLNI

 

 

 

 

 
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‘peopyiom Ayinoas

puejawoH jo juawedagq °S‘fp Bulysijqejsa jo asodind au) 40}
papiaoid aie pue ‘sisAyeue dIWOUNDA JO} pasn aq 0} papusjul }OU
ae ‘soljsijejs asou} uodn paseq suoloeloid ay} pue ‘solsiye}s
BY] “SA}EIS POPUP) BU} JO SONSHE|S SPP] [EIDIJJO BY] B}NYJSUOD
JOU Sa0p Yodel siy} Ul PeureyUOD UO!}ELUJOJU! SUL SLUIE|OSIG

ER JOB]UOD JO SIUIOg Hd]
AE etetestesteseeseteeeeeseensessensseneenessesensennesaaeaeceeeenenas SJ8PIO UOISN}Oxy
OR ieteteseteteseeeeeeetcensenneeseteeeneneeeeeees Ayunoag pue ‘Kayes ‘ueaH
| da a JuaWUOUIAUZ Buiddius Aq saunziag
Qa rtetettteseeseeseee eee eneeeee cen ceerenssaseneeseeteanee eats Awouoo3 Aq SaINZIaS
Hari itttenesetneeseseneensees Awouoo3 Aq P9ZIVS S]ONPOlg 10} dHSW [e]OL
BOs esenseeteeneneaseeseeaneeeseeeesesenses dHSW Aq pazies sjonpolg
OS eres sree re eee e tees eeeeeeaens jonpold Aq SAINZI9S Jo JAqUINN
QL erties ete eee teeeeeteeteeteeneeenenneens uBredweg ssaualemy 2IGNd Hdl
QL irirtrteeetete rete tee tetas tees SONHSHEIS BINZIBS Yd] ZLOg JB8,A |eosi4
GL oeeeeteeeseesescessecnseestenecsssnescesenseneensssenssenaensennnne B0JBWIWOD-F 8 YdI
Lor ennnaenanenenutesnnaasasanssassneassneevesseueseteuuaseens anaes MAIABY Ul JEOA
(pitseeeneeeetteeetteetesennnassessanecasesnessessssenersnenes Ayewiuuins aanoaxy

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WEEE A]

 
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‘9LOZ AJ Ul Seunzies Yyons Qf WO aseaJoUl jJUdoJEd pee
2 (VOW) Vv YBUAdOD wWniuvay|Ipy [eyW51q ay} yo SUO!EIOIA
JO} SBD|ABP UOHNUSAWNODIID JO SJUBWUIYS 76g pezies qgqy

‘(papnjoxa sjuswdiys puke pazies sjuawdiys) suoyoe
JUSLUBDJOJUS JOO UOISNJOX9 GL | paya|dwoo qq ‘7102 AJ Ul

‘JuaWUIaAOB

OU} 0} SHUIARS }SOO UOOIPJEJU! JUBDIUBIS pue spoob paureyap
JO SjJUsWIUOpUege AJejUNIOA ggc‘s Ul pal;nsei—9a}}!WIWOD
AJOSIAPR [B19P9} S,4qGO (OVOO) saylwwog Aosiapy
SUONeJBdQ SWO}SND |eloIaWIWWOD 9u} Aq UONepusWWOIa
yewoj e YBnosu} peyoddns—wiesboid siy, ‘wesGoud jojid
jusWUOpURge Ale}UNIOA ay} PanuNUOd qqd ‘SIaquiaw Ss}!

pue eoiewy jo uolelsossy ssaidxy ay} yim diyssouyed u|

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VNC) Ue DS imo mney ©

 

S[RIO], IANZIVS IeIK OQ]

‘Awouooa ino abewep pue ajdoed

INO WEY ‘SME BPE] INO S}EJOIA O} YBES OYUM aSoOU} HBuljebiysanu!
Ajyeuiwio pue saul IAIo BulAag| ‘spoob Bulbunyul-y | Burureyuoo
sjuswudiys Buyjebse} ul yueyiH1iA urewiad (GHG) Ajundes puejeaWwoY
JO JuUsWedag au} UIYIM S}JUBUOdWOD aU “|aAeJ} We YBnosYy
eae seBeyord juawubisuoo ssaidxa pue ‘jeysod ‘obseo a10w
uol|iq seaWenb jeuonppe uy ‘|e Aq aAe UOI|IlW E pue YONA}

Aq 8Auie UOl||IW OL JaYyJOUe ‘SJapJOG PUR] INO }\y ‘sHOdess ino

JE BAWWE SIBUIE]UOD SWIEW UOIILU || UeU] a0 “WeAaA Yyoeg

‘sowuo Ayadod
JENJO9|/9}]U! O} PAyejaJ SUONOIAUOD Op~Z PSAIBOEJ PUB ‘S}USWWOIPU!
88e Pseule}qo ‘sjenplAIpul ZGP pajsawe |SH-AOl ‘ZL07 A Ul

‘9102 Ad Ul LOO‘E06'Z8E' lS Woy

6L2'Z8e'907' L$ 0} peseai9ep ‘auinueb useq Aay} pey ‘spoob
pazias au} JO (GUYS) edd jre}e1 paysabbns seinjoeynuew
payeuljsa [2}0}] OY] “9LO? Ad U! O9S'LE WoO SPL 'vE 0} JUBoad g
paesealOUl SAINZIOS Yd] JO JaquinuU ay} ‘Z LOZ (AS) Je9A [eOSI 4 U|

“sjonpold poI||! yOns jo
suoduu! Aq pesod sys aueyjeam pue jeloueuy oy} sayeBIIW (|SH)
suonebusanu Anodes puejawoyH ‘(4D]) JuUawseds0JUQ SWO}sND
pue uonesBiwuw| “Sp pue UdIoaj}OIY JapJOg pue sUIO}sND ‘*S'h

Aq (Yd|) sui Apadoid jenjoa|jajul Jo JUsWaDIOJU “S}saJejul
JEUO!}EU INO O} SYSIJ BSOd pue SJaWINSUOD UBDIaWY JO Ajayes
pue yyeay ay} UdyedIU} ‘UOISSIWIWOD apes ;BUOHeUIa}U|
S9]e1S pallu ay} Aq panss! ssapso UOISN|OXxa oO} JOalqns ale
Jo syyBuAdoo pue syseweped} ‘S'f) aBuljul yey) S}ONPOJY

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“UO! Z LS Ajayeuuixoidde jo anjea quS|V

peyeuuljse ue YUM SWd}! pzZe'p? Ajayeulxoidde jo sjuawUOpUege
/SOINZI9S fO| Pe}ONpuOD puke sjenpIAIpU! ZL PaySeue SIBdJO BdJ0}
ySE} ‘SN ‘SHOYe Asay} JO }\NSe1 e Sy ‘asipUBeYyoIEW payejai-sods
HWAL9}UNOD JO UONeYOduI ebay]! ay} ssasppe AjuIol Oo} |7 |mog Jedns
0} JoUd seAe|q weal uolye1adQ pajonpuod ‘yqD WoL SeAe}Uasaldas
YM Buoye ‘4a]U9D UO!JEUIP1OOD Yd] |EUONEN Pe|-¥O! Sul

‘SOINZIOS 96h‘ Ul Pay|Nses SuOesado yuo! OM) BULL “Saye}S

PayIU BU} 40} peuljsep spoof japajuNod Jo sHodxa BHuljaipyaqul NOWD
pue Japiog *S‘f) ay} je Seunzies Buiyew ggyD UNM ‘aoaWWO0d *S"h
Buuejue wo1 spoo6 Bulbunyul-Yq| $O syuawdiys Buiddoys uo pasnoo}
9J0VD pue qgo ulog ‘suoijesedo ay} Buiing ‘asipueyojew palejal
pue ‘savayeq ‘sebpuyes sejuud ‘soluosjo98|9 Jauunsuos ‘sbeqnuey
‘sayoyem ‘seamjooy ‘jasedde Buieam ‘sjeoyneoeuueud ‘soiuoso9|a
J@WINSUOD Pjoyssnoy UO pasndo} SuONesado ay] “21.02 IsNBny pue
judy ul suoleiedo juauadIOJUS Yd] JULIO! Buoj-UyJUOLW OM) payoNpUOD
(DOV'D) SwojsnD eulyD jo uoeysiulUpy je18UEy ey) pue dqoO

“‘s}USWUUOpURGe /9 PUB qYSW UOl||!LW

9 ves Je panjea spoob BHulbulsjul-yd] JO Saunzias 799‘, ul payjnsal
suoesedo | Fd|I\| ‘Suoesado jUSWsdJOJUS |SISSe 0] pahojdep
suadxe Yd] Jo sdnoib ‘(s_ aq ||) Swee, juswadsojuy Aedoid
jenjoa|jayu| ajiqoyy Aq payonpuod ajam suoNesado asau} jo yybIg

"UOIINIIW PF JO TUS Peyewise ue sAey pinom ‘auinuaé 4! ‘yorum
spoob Bulbunjul-Yd] JO SINZIas Gpg'| Ul payjnse pue ‘S"fy aU}
ssoloe sqny Jawies sseidxe pue ‘saijioey jel FeEUOIBUaJUI ‘SOdure
‘suodess je sjuawdius ysi-ybiy pajabie} suoieiado aseu| “7102
Ad ul suoneisdo apes} Bunebyiw-yd] |AAa| |eUONeU ZL payonpUuOD
(NLLI) Women Bunoebie, apes, payesBayu] S.4qo jo sjJuauodwo5g

7NNe) Xe )S On Me)

 
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LL

"SpOOb jaya}UNOD JO UOIIILW 7H JYyes} O} HuNdwaye 0}

Ayin6 papesyjd yjoadsns ay “uolyiw 9°Z$ JO AN|EA HSIN payewijsa
je}0] pey aAey pjnom ‘auinuab fj! youM ‘sjonpoid yayajuNod Jo
aiNZI9s ay} Ul Bunjnses s}jueueM YOIedS |SH 0} pa sjaqe] ajsa}uNoo
BHulwooul jo uoeoyiUap! §,4gyD ‘uoebysaAu! [BUILD JO] |SH

0} BSED BU} Paajas pue S]USLUCIYS }aj9]UNOD au] pazias pue
payiuapl gD ‘uosud jesapa} ul SUJUOLW /€ O} PadUa]UaS SEM
juawdinbs Buryiomjau Ja]Ndwod jepajuNod jo JoWOduwI BIWOW|eD ¥

‘pa}o9joid 319M SaLysnpul Jayj}O ul sqol

uBoeWY JeUuOIIppe ‘SaiuedWOd *S*f JAU}O WO Sued puke sjeeTew
Med aseyoind saiuedwosd esau) sy “aunyiwin} auinuab ay} eyew

yey} SaluUedWOD ay} O} payejas Sqol uUBOaWY 000‘ J8AO JO9}O/d 0}
padjay aney Soe JUSWIBDIOJUS SINILUN S.4gD wea snoimaid

AU} WO! AN|eA aiNZI9S Ul aSeaiOU! JUadIAd OQZ B pajuasaida siy]
‘auinueb useq Aey} pey Uolji L°SLS JO GUYS [2}0} payeuse

ue pey aAey pjnom spoob pezies au] puke ‘saunzias ge alam

Jay] ‘MOl e Ul EAA PUODAS & JO} BSE9JOU! O} PanuljUOd ainyuINY
aoIyjO pue auioy ubIsap UapOW ‘AINjUsO-plLW ‘D/UOD! JO SeuNzZIaS

‘palolpsajul uaeq jou
Asay) pey Ajayes pue uyyeay 0} syeasy] pasod aeney Aew spoob aseu}
JO BWOS ‘sain}xly jYyB pue sjybi) pue ‘sauossacoe Ja}ndwoo pue
9uoUd ||99 ‘suajquin} Huryuip peyejnsul se yons sjonpoid jo saunzias
ZL6'S UUM SaOHa}e9 Ua} do} ay} Buowe ulg syues AioBayeo

sIu| ‘sjonpojd pazias jo Aiobayeo mau PB SI SJONpOJY JawNsuOy

"SOINZIBS BSAU} U! Pa}!ajla}UNOD sem SyeWAEpe)
6y ‘12}0} Ul “ZL LO? AS U! SHJEWAPeI} Haj9]UNOS YUM paxiye
SddlAAP JOJONPUODIWAS JO S]JUaWdIYS EZ} Pezies [SH pue qqQ

CUNO DS MU mney @

 

 
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“SUO/JEUILUIBJAP JUBWIBDIOJUa
Japsoq Yd] Suryew ul 4go Aq pasn pue eseqeyep ay} 0} payull
osje ale suapjoy sjy6u Aq pasedaid ase yey) spenuew uoleoyNuUap!
JONPOJd ‘SUONCUILUIAJAP JUBWAIIOJUS JAPJOG Yd] By¥ewW O}] ssa00e
ued 4gd Jeu) eseqejep Ayejaudoid ainoas e Buisn suolepiooa
asa} SJa\siullupe qqO ‘7AOD Ago dI//-sdyy ‘wayshs (YHdlI)
uoijepso0ey-92 syyhiy Ayadoig jenjoa|jayuy ay} Buisn sJaumo JI8U}
Aq ddd uM papsooal usaq aAey yey} S}YBUAdOO pue syseWwape)
paiajsibed Ajpesapa} UO JUBWIBDIOJUS JBPIOG Yd] S}I SayesJUBOUOD qqD

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‘s]uaAe BHulures) pue yoeaijno EEE u! payedioed sjdoed OQO'rL JeUl
a10W ‘J 102 AS Ul ‘SPOOB po]! Jo aunZias ayey|19e) 0} JUeLIB.IOJUS
Me| UBlas0} puke ‘feoo| ‘aye}s ‘je1apa jo Burures euoleusaju! pue
DISABWOP SJONPUOD }! ‘UOISSILU YORAJNO AujSNpul Buy} O} UOIIPPe Uj
‘ureyo Ajddns s,juawuUJaA0yD ay} Bulinoas pue ‘AWoUo0Ia ay} pue
‘Ajayes “yyesy dqnd Buyodajoid jo sanwoud s1a}uaD Yd] eu} Ssnosip
O} SJ@YJO Puke ‘SJaWIeO ‘salpIOe} Papuog ‘suspseMiO] jUBied ‘siayosq
SWWO}SNd ‘syayOdu! ‘sidunjoRjnueW ‘suapjoy s}yBu s}obse} aunjus/
julor “spoob pajure} pue ‘psepueysqns ‘}aj1a}UNOD Jo UOINqIISIp
pue uoleyoduu jeHaj|! ay} YEquIOD 0} SIOJOaS ayeALId pue oIGnd UM
Bueys uoleWojul eseaiou! O} paubisap si aaeniul SIU] “@ATeNIUI
anus JUIOP UOH}EIBdO sp! YBnosy) Yeu d| YEqUIOD O} SIO}OaS ayeALd
pue o1jqnd au} yim sdiussouyed ul sebebus 19}U99 Yd] Pe-JO! SUL

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Cv-

"Hd| Bulssojus yo asodind au} 40}

sai6ojouyoe} pue ‘juawdinba ‘asemyos ‘arempsey jo seled 10]}9eS
S}eAlId WO. SuOeUOpP HulAlad—ed JO} (LQ’EEL HAD GL) SuoNeinBe.
pequosaid sey 4go ‘(P)80E UOHIES WALIL ey} 0} JUeNSINg

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MATADY Ul IVIL

 

 

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"Q0JNOS dy} Je Bunlapayunoo

dojs 0] sdiysuauyed jeuoleusaju! pue 49}U9D UOHEUIPIOOD Yd]
jeuoleN ay} yBnosy) uoNeuIpsooo AouabeJajul ‘ssapjoy syybu pue
491 gd ueemjeq uoNesoqeyjoo soueyUs O} SayepueW apnjoul
9SOU] ‘JUSWIBDOJUS Yd] JusWajddns oO} SusiueYydaW apIAold

PUB JUBWSDIOJUS Yd] HulpyeGes suoloe 410} |jeo Ayyeoyioads yeu}
SUOISIAOIC (WA14L) GLOZ JO JOY JUsWIaDJOJUR apes] pue UO!eWI9e4
apes] SNOUBA JUsWA|dUI 0} panuljuoD 4D] pue qgd ‘2102 Bung

‘Ajyeuoieu jno padoos si

YSU ay} se Ajuda Jo Sod |e 0} papuedxs pue AJjua jo od oyloads e
Je pajoaip aq ABW SAI}IANOe BSAY | “SUOIJEJOIA Yd] ajqissod 0} payejai
YSU JO Seale SSaJppe oO} SUOI}e1ado Bulynoexe pue Buldojanep useq
BABY SI9JU9D 9y} ‘ZL0¢g AS ynoyBnoiy] ‘aouabyaju! apes} ajquyreae
Bulbesang] puke ‘SuOIOe JUSLUBOIOJUS Oped] jN}JOedw! pue o1Ha}e.s
Buld\jdde ‘sainpssoid Buissaooid ape} aAlyeAouu! Buldojanap
‘asiuedxe pue abpajmouy Aujsnpul Burloueyua ‘sseusal}ijedwoo
o1wWOUOsa S,eoUaWYy Builuay}Guaijs Jo sjeob aul jaa O} WOYd ue UI!
Ayuda JO Sod |e ye SUOISIDSp apes} aye O} AWOUINe jeuOIyYeU BAeY
‘AWUNOD BY} PUNOIe SUOIeDO] DIHaye1js Wool paBeuew ‘siajuay ayL

INCU ys ino mA)

 

   
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ye Puno} aq UBD UOIFEWWOJU! Payejai BDIBWWWOD-J ao/|

‘SJUSWIYS BdI@WWOD-d O} Hululeyad sme] SwO}sno

pue ape} °S7f JO suoHeoIA Bulyequwos 40} uejd pue ABayeijs s,4qo
JO JUBLUdOJaAapP 9u} pa] Sey YoIYM ‘YOUBIG SsaUIsng [jews pue
SOSWIWOD-F ay} paysiqejse Ajjeloiyo qd ‘9LOg Jaquiaydas u|

*S]UBLUUOIIAUS SSaIdxE8 pue
|TELU JBUOIFEUSJU! BU} Ul Bde] aye] SouNZIAS Yq] |e JO JUsdIEd Eg

"S]JUMLUUOIIAUS |e pue ssaidxa

ay} YBnosu) peddius aie soBbeyoed uoljjiw OOS 4J8A0 ‘Ajjenuuy
‘SN ay} OJ! SeBeyoed |;ewWs Ul asealoU! dieys ke Ul pa}jNnse: evey
‘suuoyejd Ayed-piiu} yBnouy) asoy} Hulpnjou! ‘sayes aoJawwi0Dg-F

Soy less tos i. aS i

 

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“EXOPU|/SWOH/AOD "ago 'suoljedal/B3//-SAQY
ye wayshs Buodey uonejoi, apes, auljuQ suoneBbealjy-2 ay) Buisn
ddO 0} peyiuiqns aq ued syuawebuLju! Yd] jelus}od UO UOI}eWOJU|

‘TAODAGa'sId77-GHY ye (SUdI) yoreas syybiy Auedold

jenjoajjeaju| au} payyeo aulbue Yyoseas e Bulsn ajqeyieae si Suoiepsoo—al
BAIOBU! PUB BAI]OB YJOg JO aseqejep Jijqnd yY ‘suONeUIWUajap
juaWaDOJUd Yq] Buryew ul siapjoy s}yBu ym Ajesojo syiom qgo

‘papsooel puke pasaysibel Ajjesapa}

aie Jey} BSOyU} SB UO!}Da}O1d puke JUBLUBDJOJUS JAPIOG Yd] JO syjauaq
awes ay} 8Al90a1 s}yBUAdOS palajsiBbaiun asau) ‘papi00e1 sou0
‘MON ‘ODSN eu} UM paajsibas sem yyBuAdOO au} jun ajqissod you
SEM dgd UM UOHep0oa/ ‘A[SNOIAdIg ‘s}yUBUAdOO paJajsiba Ajjesapay
184 Jou jNq papsooei Yons BulAjoau! saous d1}9/U}e JO Seunzies
paypuny om) Ajeau a19M B19} ‘2 LOZ AS Guunp “apjoy s}ybu auc
104 (OOSN) Bd!INO YBUAdOD *S*N ay} YyIM SuOHeoI|dde uolejs!6e4
Huipued pey yoiym s}ybuAdoo 10) payeijiul a18M SUOI}ep1ooes MAU

ce VALAL 84} $0 POE UOI}D9g 0} JUeNsind ‘g,.Og IsnBny souls

‘suoyepsooes Buiidxa jo sjemauel JO SuOI}epsoge
MOU EPre'zg Bulpnjoul ‘suonepsiooa aaljoe GOZ‘g |} JAA0 0} Bululeyied
s}yBuAdoo pue sysewapel) padojud qgd ‘ZLOZ AS JO BSojo au} jy

MOITADY UT Teak

 
 

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SOILSILVLS SYNZIAS Ydl ZLO02 YVIA TVOSIS

 
‘SAAMNOS BIGEINGAd Wody dOYS ‘MOoUy JOU ABLU MOA SAB UT
AWOUOD9 “S‘fN ay) soBewep sjoanpoid JiajsajyunosD BuyAng

                     
   

pue ‘o1wouoze ‘jeba] au} jnoge suajane}
JBUONBUIAU! WOJU! O} S| UBledwied au} jo
jeo6 ay, “woouosiApyduy se yons sajisqam
JAAB1] UO paoRid osje aiam spe SUL ‘(|AAG)
yoduiy jeuoneusajyu) uojBuiysesy/asownjeg
pue ‘(yjr) Hodury jeuoWeUsa}U] 410A MON
(XW) Hoduly |BuCHeUa}U] SejabuYy SO7
‘(MAQ) HOdiy |euoeUsa}U] YON HOS
/seyjeq ‘(qyl) wodiry jeuoleusaju] saying
uoyBuiysen ‘(GHO) YoOduiy yeuoeuse}U]

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‘SAOPF NVDINAWV 4O SGNYSNGHL 1SOD ASHL

anf (0) EEE POE te h/
AAISNAdX4_ MOH

 

| u 3J8H.0 obealyg — Ayjunoo ay) jnoyBnowy)
S ‘sjuana esau} YBN) payeoo| syodure xis ul padejdsip spe jo
“, siajenen 009'2 Ajerewixodde yim axods 4a L402 A Ul “Anoauip o1qnd Beisisveo UPIBEMOAUT {9 SSeU0 Sil.

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pue /10¢ Ainr pue eunr jnoyBnolu}

powad janes) Jawns Asng au} Buunp ues
uBredwes au} jo aseud ysuy ayy ‘uBledueo
ssoueleme ognd Yd] ,Ssapeyunoy

D ay] aJeonpa Oj sjeloyjo ISH pue dg pajqeus smous peol asay| JOIAeYyaq
QO 6urseyoind say) pue spoob jlajsajuNod Jo siabuep ay} Inoge suajaAel} YIM

4/2} 0} SOdsre SNOWeA ye SMOYS PEO! Yd| XIS Pa}ONPUOD ygd ‘UOIIPpe Uy]
*‘seoinos ajqejndai wo. Buiddoys jo aoueyodwi! au) jnoqe ssauajeme asies
pore AWAoe jeulwio suoddns spoob piayajunoo Hurseyoind yey) sidjanes} aye 4 ;
spe aul ‘spoob Bulburyjul gj Buuinboe jo suoeoljduwy Ajayes pue yyeay oqnd PUlyod YINAL, SU) PEdojersP dqO LbOc ul
O isa

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